          Case 1:17-cv-11008-MLW Document 271 Filed 05/18/18 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
JANSSEN BIOTECH, INC.,                                 )
                Plaintiff,                             )
                                                       )      Case No. 1:17-cv-11008-MLW
                                                       )
v.                                                     )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.                                          )
                  Defendants.                          )
                                                       )

            JANSSEN’S MOTION TO SEAL MOTIONS IN LIMINE NOS. 11-14
                        AND ACCOMPANYING EXHIBITS

         Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal the following

documents:

     •   Janssen’s Memorandum of Law in Support of its Motions in Limine Nos. 11 & 12

         Regarding Non-Infringing Alternatives (Dkt. No. 268);

     •   Janssen’s Memorandum of Law in Support of its Motion in Limine No. 13 to Preclude

         Evidence or Argument that Janssen is Employing a Double Standard for Infringement

         and Validity (Dkt. No. 269);

     •   Janssen’s Memorandum of Law in Support of its Motion in Limine No. 14 to Bifurcate

         Trial (Dkt. No. 270); and

     •   Accompanying Exhibits 1-3, 8-14 and 17-20 (Dkt. No. 265).
      Case 1:17-cv-11008-MLW Document 271 Filed 05/18/18 Page 2 of 3



     In support of this motion, Plaintiff states as follows:

     1. Janssen intends to file above-referenced documents today.

     2. These documents contain reference to, and discussion of, certain confidential

        information that may be considered proprietary by the Plaintiff, Defendants, and third

        parties.

     3. To minimize the impact of sealing, Janssen will file redacted versions of the

        Memoranda of Law through the Court’s electronic filing system.

     4. The granting of this motion will not prejudice any party.

     5. The Defendants assent to the relief requested.



Dated: May 18, 2018                               Respectfully Submitted,
                                                  JANSSEN BIOTECH, INC.

                                                  By its attorneys,

                                                  /s/ Alison C. Casey

                                                  NUTTER MCCLENNEN & FISH LLP
                                                  Heather B. Repicky (BBO# 663347)
                                                  Alison C. Casey (BBO# 688253)
                                                  155 Seaport Boulevard
                                                  Boston, MA 02210
                                                  Tel.: 617-439-2000
                                                  Fax: 617-310-9000
                                                  hrepicky@nutter.com
                                                  acasey@nutter.com

                                                  PATTERSON BELKNAP WEBB & TYLER
                                                  LLP
                                                  Gregory L. Diskant (pro hac vice)
                                                  Irena Royzman (pro hac vice)
                                                  Aron Fischer (pro hac vice)
                                                  Andrew D. Cohen (pro hac vice)
                                                  Daniel A Friedman (pro hac vice)
                                                  David Kleban (pro hac vice)

                                                  1133 Avenue of the Americas
            Case 1:17-cv-11008-MLW Document 271 Filed 05/18/18 Page 3 of 3



                                                  New York, New York 10036
                                                  Tel: (212) 336-2000
                                                  Fax: (212) 336-2222
                                                  gldiskant@pbwt.com
                                                  afischer@pbwt.com
                                                  acohen@pbwt.com
                                                  dfriedman@pbwt.com
                                                  dkleban@pbwt.com
                                                  iroyzman@pbwt.com

                                                  Attorneys for Janssen Biotech, Inc.




                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 18, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
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